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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:                                                     Case No. 8:18-bk-09090-MGW
                                                           Chapter 7
Matthew Francis Bartolomeo
and Olga Bartolomeo,

            Debtor(s).
______________________________/

  TRUSTEE’S APPLICATION TO EMPLOY REAL ESTATE AGENT AND BROKER

         Christine L. Herendeen, Chapter 7 Trustee in the above-captioned case, seeks the
authority of this court to employ a real estate agent and broker under 11 U.S.C. § 327(a) and
states as follows:

         1.     The Trustee seeks to employ a real estate agent, Al Carapella (the “Real Estate
Agent”), and a broker, Hunt Realty Group (the “Broker”), to assist in the liquidation and sale of
the surrendered real property in the instant case. The real estate agent and the broker have
familiarity with the property and the particular Tampa area in which it is located.

         2.     In the event of a sale, the Trustee would seek approval to pay a 6% commission.
A copy of the Listing Agreement is attached hereto as Exhibit “A.” The real estate agent and
broker will not be paid without an application to and an order from this Court, subject to
approval of the court pursuant to Section 330 of the Bankruptcy Code.

         3.     The Trustee believes it is necessary to employ a real estate agent and a broker for
these services to obtain the highest and best price, and neither the real estate agent, nor the
broker, represent an interest adverse to the Trustee of this estate on the matters upon which they
will be engaged.

         5.     To the best of the Trustee’s knowledge, the real estate agent and broker have no

connection with the debtor, creditors, any other party in interest, their respective attorneys and

accountants, or the United States Trustee, except as is disclosed in the declaration attached to and

made part of this Application. Therefore, the realtor and broker are disinterested within the
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meaning of 11 U.S.C. § 101(14).


       WHEREFORE, the Trustee requests this Court authorize the employment of Al
Carapella and Hunt Realty Group in the capacity set forth above.

Date: March 29, 2019

                                            Respectfully submitted,

                                            /s/ Christine L. Herendeen
                                            Christine L. Herendeen, Trustee
                                            P.O. Box 152348
                                            Tampa, FL 33684
                                            (813) 438-3833


                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the Application to Employ Real Estate Broker was

provided by electronic delivery or U.S. mail on March 29, 2019 to:


       U. S. Trustee, 501 E. Polk Street Suite 1200, Tampa, FL 33602

       Samantha L Dammer, Tampa Law Advocates, P.A., 620 East Twiggs, Suite 110,
       Tampa, FL 33602

       Matthew Bartolomeo and Olga Bartolomeo, 3854 Lake Saint George Dr, Palm Harbor,
       FL 34684

       Al Carapella, Hunt Realty Group, 2713 Buckhorn Oaks Dr., Valrico, FL 33594

                                            /s/ Christine L. Herendeen
                                            Christine L. Herendeen, Trustee
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